                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION


TARVISIUM HOLDINGS, LLC,                               )
                                                       )
                 Plaintiffs,                           )
                                                       )
vs.                                                         Case No: 4:19-cv-00086
                                                       )
                                                       )
DUKAT, LLC,                                            )
                                                       )
                 Defendants.                           )


                 TARVISIUM HOLDINGS, LLC and 45N12E, LLC’S
      ANSWER TO DEFENDANTS’ COUNTERCLAIMS AND THIRD-PARTY CLAIMS

         Plaintiffs Tarvisium Holdings, LLC and 45N12E, LLC (collectively, “Tarvisium” or

“Plaintiffs”), and Third-Party Defendants Michele and Ana Pieropan (the “Pieropans”), for their

answer to Defendants Dukat, LLC and 36 Lower, Inc.’s Counterclaims and Third-Party Claims,

state and allege as follows:

                         ALLEGATIONS COMMON TO ALL COUNTS
                          COUNTERCLAIM AND THIRD PARTIES

         150.    Upon information and belief, Tarvisium and the Pieropans admit the allegations

of this paragraph.

         151.    Upon information and belief, Tarvisium and the Pieropans admit the allegations

of this paragraph.

         152.    Tarvisium and the Pieropans admit the allegations of this paragraph.

         153.    Tarvisium and the Pieropans admit the allegations of this paragraph.

         154.    Tarvisium and the Pieropans admit the allegations of this paragraph.

         155.    Tarvisium and the Pieropans admit the allegations of this paragraph.

         156.    Tarvisium and the Pieropans admit the allegations of this paragraph.



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         157.    Tarvisium and the Pieropans admit the allegations of this paragraph.

                                 JURISDICTION AND VENUE

         158.    Tarvisium and the Pieropans admit the allegations of this paragraph.

         159.    Tarvisium and the Pieropans admit the allegations of this paragraph.

         160.    This paragraph states legal conclusions to which no response is required.

         161.    This paragraph states legal conclusions to which no response is required.

                             COMMON ALLEGATIONS OF FACT

         162.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, first spoke with Elliot Kattan and Ben Schwartz on February 12, 2018 in a conference

call organized by Marvin Baker, who acted as the transaction broker. Tarvisium and the

Pieropans deny any remaining allegations in this paragraph.

         163.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, first submitted a non-binding Term Sheet for the purchase of Essential Hardware on

February 25, 2018. Tarvisium and the Pieropans also admit that Michele Pieropan, on behalf of

Tarvisium, met with Elliot Kattan, Mitch Kattan, and Ben Schwartz on April 10, 2018.

Tarvisium and the Pieropans admit that due diligence took place, but not until July 3, 2018.

Tarvisium and the Pieropans deny any remaining allegations in this paragraph.

         164.    Tarvisium and the Pieropans admit that on May 4, 2018, Michele Pieropan, on

behalf of Tarvisium, submitted a Memorandum of Understanding to Marvin Baker, which states

that Tarvisium would seek financing through a willing lender under the terms of the Small

Business Administration (“SBA”) and that Marvin Baker may introduce Tarvisium to one or

more lending institutions to initiate the application process. Tarvisium and the Pieropans deny

any remaining allegations in this paragraph.



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         165.    Tarvisium and the Pieropans admit that Tarvisium entered into an Asset Purchase

Agreement on June 21, 2018. The Agreement speaks for itself. Tarvisium and the Pieropans

deny any allegations inconsistent therewith and deny any remaining allegations in this paragraph.

         166.    Tarvisium and the Pieropans admit that Tarvisium entered into an Asset Purchase

Agreement on June 21, 2018. The Agreement speaks for itself. Tarvisium and the Pieropans

deny any allegations inconsistent therewith and deny any remaining allegations in this paragraph.

         167.    Tarvisium and the Pieropans admit that Tarvisium entered into an Asset Purchase

Agreement on June 21, 2018. The Agreement speaks for itself. Tarvisium and the Pieropans

deny any allegations inconsistent therewith and deny any remaining allegations in this paragraph.

         168.    Tarvisium and the Pieropans deny the allegations of this paragraph.

         169.    Tarvisium and the Pieropans deny the allegations of this paragraph. Dukat had

separate financial statements for Essential Hardware both prior to and after the time Tarvisium

and the Pieropans learned that Essential Hardware was for sale.

         170.    Tarvisium and the Pieropans deny the allegations of this paragraph.

         171.    Tarvisium and the Pieropans admit that Dukat represented Essential Hardware’s

sales to them in separate financial statements but otherwise deny the allegations of this

paragraph.

         172.    Tarvisium and the Pieropans admit the allegations of this paragraph.

         173.    Tarvisium and the Pieropans admit the allegations of this paragraph.

         174.    Tarvisium and the Pieropans deny the allegations of this paragraph.

         175.    Tarvisium and the Pieropans admit that they hired Ron Chadwick and iLink

Systems to conduct a limited review of certain financial information and intellectual property

information represented by Dukat but deny the remaining allegations of this paragraph.



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         176.     Tarvisium and the Pieropans deny the allegations of this paragraph.

         177.     Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, emailed Dukat on July 17, 2018. The communication speaks for itself. Tarvisium and

the Pieropans deny any allegations inconsistent therewith and deny any remaining allegations in

this paragraph.

         178.     Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, emailed Dukat on July 23, 2018. The communication speaks for itself. Tarvisium

and the Pieropans deny any allegations inconsistent therewith and deny any remaining

allegations in this paragraph.

         179.     Tarvisium and the Pieropans admit that the parties entered into an amended Asset

Purchase Agreement that included a number of changes, including a change to the closing date,

but deny the remaining allegations of this paragraph.

         180.     Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, emailed Dukat on July 23, 2018. The communication speaks for itself. Tarvisium and

the Pieropans deny any allegations inconsistent therewith and deny any remaining allegations in

this paragraph.

         181.     Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, executed the Amended and Restated Asset Purchase Agreement on or about July 23,

2018. The Agreement speaks for itself. Tarvisium and the Pieropans deny any allegations

inconsistent therewith and deny any remaining allegations in this paragraph.

         182.     Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, executed the Amended and Restated Asset Purchase Agreement on or about July 23,




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2018. The Agreement speaks for itself. Tarvisium and the Pieropans deny any allegations

inconsistent therewith and deny any remaining allegations in this paragraph.

         183.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, received a non-binding proposed term sheet from Wells Fargo on or about July 30,

2018. That non-binding term sheet is not consistent with the allegations of paragraph 183 and

will speak for itself. Tarvisium and the Pieropans deny any allegations inconsistent therewith

and deny any remaining allegations in this paragraph.

         184.    Tarvisium and the Pieropans deny the allegations of this paragraph.

         185.    Tarvisium and the Pieropans deny the allegations of this paragraph.

         186.    Tarvisium and the Pieropans admit that Wells Fargo proposed financing terms in

its communication to Michele Pieropan dated July 30, 2018. The communication speaks for

itself. Tarvisium and the Pieropans deny any allegations inconsistent therewith and deny any

remaining allegations in this paragraph.

         187.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, communicated the financing terms proposed by Wells Fargo to Dukat on July 30,

2018. Tarvisium and the Pieropans deny any remaining allegations in this paragraph.

         188.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, communicated the financing terms proposed by Wells Fargo to Dukat on July 30,

2018, and Dukat accepted those terms. Tarvisium and the Pieropans deny any remaining

allegations in this paragraph.

         189.    Tarvisium and the Pieropans deny the allegations of this paragraph.

         190.    Tarvisium and the Pieropans deny the allegations of this paragraph.




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         191.    Tarvisium and the Pieropans admit that Defendants and Tarvisium discussed the

financing and terms of the Ancillary Agreements in September 2018.         Tarvisium and the

Pieropans deny any remaining allegations in this paragraph.

         192.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, conducted the application process through Wells Fargo for the acquisition of

Essential Hardware. Tarvisium and the Pieropans deny any remaining allegations in this

paragraph.

         193.    Tarvisium and the Pieropans lack sufficient information to admit or deny the

allegations of this paragraph and therefore deny the same.

         194.    Tarvisium and the Pieropans lack sufficient information to admit or deny the

allegations of this paragraph and therefore deny the same.

         195.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, conducted the application process through Wells Fargo for the acquisition of

Essential Hardware. Tarvisium and the Pieropans deny any remaining allegations in this

paragraph.

         196.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, conducted the application process through Wells Fargo for the acquisition of

Essential Hardware. Tarvisium and the Pieropans deny any remaining allegations in this

paragraph.

         197.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, conducted the application process through Wells Fargo for the acquisition of

Essential Hardware. Tarvisium and the Pieropans also admit that Wells Fargo declined the

financing application because the SBA declared a moratorium on all financing for eCommerce-



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related acquisitions. Tarvisium and the Pieropans deny any remaining allegations in this

paragraph.

         198.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, conducted the application process through Wells Fargo for the acquisition of

Essential Hardware. Tarvisium and the Pieropans also admit that Wells Fargo declined the

financing application because the SBA declared a moratorium on all financing for eCommerce-

related acquisitions. Tarvisium and the Pieropans deny any remaining allegations in this

paragraph.

         199.    Tarvisium and the Pieropans deny the allegations of this paragraph.

         200.    Tarvisium and the Pieropans admit that, per the Transition Services Agreement,

training officially started post-closing on October 1, 2018. Tarvisium and the Pieropans also

admit that Ana Pieropan and Eric Chadwick went to the Defendants’ office for a three-day

training program on October 9, 2018.         Tarvisium and the Pieropans deny any remaining

allegations in this paragraph.

         201.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         202.    Tarvisium and the Pieropans admit that Elliot Kattan and Michele Pieropan, on

behalf of Tarvisium, discussed alternative scenarios for financing the deal on September 6, 2018,

and Elliot Kattan suggested having Dukat extend 100% seller financing to complete the

acquisition. Tarvisium and the Pieropans deny any remaining allegations in this paragraph.

         203.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         204.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         205.    Tarvisium and the Pieropans deny the allegations in this paragraph.




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         206.    Tarvisium and the Pieropans lack sufficient information to admit or deny the

allegations of this paragraph and therefore deny the same.

         207.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         208.    Tarvisium and the Pieropans lack sufficient information to admit or deny the

allegations of this paragraph and therefore deny the same.

         209.    Tarvisium and the Pieropans admit that Elliot Kattan and Michele Pieropan, on

behalf of Tarvisium, discussed alternative scenarios for financing the deal on September 6, 2018,

and Elliot Kattan suggested having Dukat extend 100% seller financing to complete the

acquisition. Tarvisium and the Pieropans deny any remaining allegations in this paragraph.

         210.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         211.    Tarvisium and the Pieropans admit that Tarvisium executed a Promissory Note.

The Promissory Note speaks for itself. Tarvisium and the Pieropans deny any allegations

inconsistent therewith and deny any remaining allegations in this paragraph.

         212.    Tarvisium and the Pieropans admit that Michele Pieropan, on behalf of

Tarvisium, and Elliot Kattan exchanged emails on September 19, 2019. The emails speak for

themselves. Tarvisium and the Pieropans deny any allegations inconsistent therewith and deny

any remaining allegations in this paragraph.

         213.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         214.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         215.    Tarvisium and the Pieropans admit the allegations in this paragraph.

         216.    Tarvisium and the Pieropans admit that the inventory was shut down, but

Tarvisium and the Pieropans had no knowledge of the shut down at the time of closing.

Tarvisium and the Pieropans deny any remaining allegations in this paragraph.



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         217.    Tarvisium and the Pieropans admit that the inventory was shut down but

Tarvisium and the Pieropans had no knowledge of the shut down at the time of closing.

Tarvisium and the Pieropans deny any remaining allegations in this paragraph.

         218.    Tarvisium and the Pieropans admit the allegations in this paragraph.

         219.    Tarvisium and the Pieropans admit that Tarvisium entered into the Security

Agreement. The Agreement speaks for itself. Tarvisium and the Pieropans deny any allegations

inconsistent therewith and deny any remaining allegations in this paragraph.

         220.    Tarvisium and the Pieropans admit that Tarvisium entered into the Security

Agreement. The Agreement speaks for itself. Tarvisium and the Pieropans deny any allegations

inconsistent therewith and deny any remaining allegations in this paragraph.

         221.    Tarvisium and the Pieropans admit that Tarvisium entered into the Asset Purchase

Agreement and Ancillary Agreements. The Agreements speak for themselves. Tarvisium and the

Pieropans deny any allegations inconsistent therewith and deny any remaining allegations in this

paragraph.

         222.    This paragraph contains no allegations to which a response is required.

         223.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         224.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         225.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         226.    Tarvisium and the Pieropans deny the allegations in this paragraph.

         227.    Tarvisium and the Pieropans admit that Tarvisium entered into the Transition

Service Agreement. The Agreement speaks for itself. Tarvisium and the Pieropans deny any

allegations inconsistent therewith and deny any remaining allegations in this paragraph.




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         228.     Tarvisium and the Pieropans admit that Tarvisium entered into the Transition

Service Agreement. The Agreement speaks for itself. Tarvisium and the Pieropans deny any

allegations inconsistent therewith and deny any remaining allegations in this paragraph.

         229.     Tarvisium and the Pieropans admit that Tarvisium entered into the Transition

Service Agreement. The Agreement speaks for itself. Tarvisium and the Pieropans deny any

allegations inconsistent therewith and deny any remaining allegations in this paragraph.

         230.     Tarvisium and the Pieropans admit the allegations in this paragraph.

         231.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         232.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         233.     Tarvisium and the Pieropans admit that Amber Arnold’s plans to provide training

were cancelled after multiple prior failed attempts to get Ms. Arnold to provide training.

Tarvisium and the Pieropans deny any remaining allegations in this paragraph.

         234.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         235.     Tarvisium and the Pieropans admit that Tarvisium entered into the Software

Service Agreement. The Agreement speaks for itself. Tarvisium and the Pieropans deny any

allegations inconsistent therewith and deny any remaining allegations in this paragraph.

         236.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         237.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         238.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         239.     Tarvisium and the Pieropans admit the allegations in this paragraph.

         240.     Tarvisium and the Pieropans admit that Tarvisium stopped making Promissory

Note payments by January 1, 2019. Tarvisium and the Pieropans deny any remaining allegations

in this paragraph.



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         241.     Tarvisium and the Pieropans admit that Dukat emailed Tarvisium about the

Promissory Note on January 2, 2019. The email speaks for itself. Tarvisium and the Pieropans

deny any allegations inconsistent therewith and deny any remaining allegations in this paragraph.

         242.     Tarvisium and the Pieropans admit the allegations in this paragraph.

         243.     Tarvisium and the Pieropans admit that Tarvisium did not pay certain invoices,

but deny those payments were required under the Software Services Agreement and by the

Services Agreement, and Tarvisium and the Pieropans deny any remaining allegations in this

paragraph.

         244.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         245.     Tarvisium and the Pieropans admit that Tarvisium stopped making Promissory

Note payments by January 1, 2019. Tarvisium and the Pieropans deny any remaining allegations

in this paragraph.

         246.     Tarvisium and the Pieropans admit that Dukat emailed Tarvisium about the

Promissory Note on February 4, 2019. The email speaks for itself. Tarvisium and the Pieropans

deny any allegations inconsistent therewith and deny any remaining allegations in this paragraph.

         247.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         248.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         249.     Tarvisium and the Pieropans admit that Tarvisium stopped making Promissory

Note payments by January 1, 2019. Tarvisium and the Pieropans deny any remaining allegations

in this paragraph.

         250.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         251.     Tarvisium and the Pieropans deny the allegations in this paragraph.




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         252.     Tarvisium and the Pieropans admit that Dukat sent a letter to Tarvisium on March

6, 2019. The letter speaks for itself. Tarvisium and the Pieropans deny any allegations

inconsistent therewith and deny any remaining allegations in this paragraph.

         253.     Tarvisium and the Pieropans admit that Dukat sent a letter to Tarvisium on March

6, 2019. The letter speaks for itself. Tarvisium and the Pieropans deny any allegations

inconsistent therewith and deny any remaining allegations in this paragraph.

         254.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         255.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         256.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         257.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         258.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         259.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         260.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         261.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         262.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         263.     Tarvisium and the Pieropans deny the allegations in this paragraph.

                                         COUNT I
                                   BREACH OF AGREEMENT

         264.     Tarvisium and the Pieropans incorporate by reference the preceding paragraphs as

though fully set forth herein.

         265.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         266.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         267.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         268.     Tarvisium and the Pieropans deny the allegations in this paragraph.


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         269.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         270.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         271.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         272.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         273.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         274.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         275.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         276.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         277.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         278.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         279.     Tarvisium and the Pieropans deny the allegations in this paragraph.

                                             COUNT II
                                              FRAUD

         280.     Tarvisium and the Pieropans incorporate by reference the preceding paragraphs as

though fully set forth herein.

         281.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         282.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         283.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         284.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         285.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         286.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         287.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         288.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         289.     Tarvisium and the Pieropans deny the allegations in this paragraph.


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         290.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         291.     Tarvisium and the Pieropans deny the allegations in this paragraph.

                                         COUNT III
                                 FRAUD IN THE INDUCEMENT

         292.     Tarvisium and the Pieropans incorporate by reference the preceding paragraphs as

though fully set forth herein.

         293.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         294.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         295.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         296.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         297.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         298.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         299.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         300.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         301.     Tarvisium and the Pieropans deny the allegations in this paragraph.

                                   COUNT IV
                       COMMON LAW COPYRIGHT INFRINGEMENT

         302.     Tarvisium and the Pieropans incorporate by reference the preceding paragraphs as

though fully set forth herein.

         303.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         304.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         305.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         306.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         307.     Tarvisium and the Pieropans deny the allegations in this paragraph.



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         308.     Tarvisium and the Pieropans admit that Dukat sent a letter to Tarvisium on March

6, 2019. The letter speaks for itself. Tarvisium and the Pieropans deny any allegations

inconsistent therewith and deny any remaining allegations in this paragraph.

         309.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         310.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         311.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         312.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         313.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         314.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         315.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         316.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         317.     Tarvisium and the Pieropans deny the allegations in this paragraph.

                                   COUNT V
                NEGLIGENT MISREPRESENTATION/MISREPRESENTATION

         318.     Tarvisium and the Pieropans incorporate by reference the preceding paragraphs as

though fully set forth herein.

         319.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         320.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         321.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         322.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         323.     Tarvisium and the Pieropans deny the allegations in this paragraph.

                                        COUNT VI
                                  DECLARATORY JUDGMENT

         324.     Tarvisium and the Pieropans incorporate by reference the preceding paragraphs as

though fully set forth herein.

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         325.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         326.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         327.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         328.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         329.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         330.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         331.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         332.     Tarvisium and the Pieropans deny the allegations in this paragraph.

                                        COUNT VII
                                   BREACH OF AGREEMENT

         333.     Tarvisium and the Pieropans incorporate by reference the preceding paragraphs as

though fully set forth herein.

         334.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         335.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         336.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         337.     Tarvisium and the Pieropans admit that Tarvisium stopped making Promissory

Note payments by January 1, 2019. Tarvisium and the Pieropans deny any remaining allegations

in this paragraph.

         338.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         339.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         340.     Tarvisium and the Pieropans admit that Tarvisium entered into a Services

Agreement. The Agreement speaks for itself. Tarvisium and the Pieropans deny any allegations

inconsistent therewith and deny any remaining allegations in this paragraph.

         341.     Tarvisium and the Pieropans deny the allegations in this paragraph.


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                                          COUNT VIII
                                       QUANTUM MERUIT

         342.     Tarvisium and the Pieropans incorporate by reference the preceding paragraphs as

though fully set forth herein.

         343.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         344.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         345.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         346.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         347.     Tarvisium and the Pieropans deny the allegations in this paragraph.

         348.     Tarvisium and the Pieropans deny the allegations in this paragraph.

                                   AFFIRMATIVE DEFENSES

         349.     Defendants’ Counterclaims and Third-Party Claims fail to state a claim upon

which relief can be granted.

         350.     Tarvisium and the Pieropans incorporate herein by reference each of the counts

set forth in their First Amended Complaint which also serve as a bar to Defendants’

Counterclaims and Third-Party Claims, including but not limited to, claims for fraudulent and

negligent inducement.

         351.     Defendants’ Counterclaims and Third-Party Claims name the wrong party.

         352.     Defendants’ Counterclaims and Third-Party Claims are barred by their prior

material breach of the Asset Purchase Agreement and Ancillary Agreements.

         353.     Defendants’ Counterclaims and Third-Party Claims engaged in negligent acts

and/or omissions that proximately caused its damages.

         354.     Defendants’ Counterclaims and Third-Party Claims are barred for having failed to

exercise reasonable care and diligence to mitigate any alleged damages.


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         355.     Defendants’ Counterclaims and Third-Party Claims are barred by the doctrines of

waiver, laches, and estoppel.

         356.     Defendants’ damages, if any, were not proximately caused by any breach of the

Asset Purchase Agreement by Tarvisium.

         357.     Defendants have not performed all conditions precedent required by the Asset

Purchase Agreement to assert its claim for breach of contract.

         358.     Defendants’ Counterclaim and Third-Party claim for “Common Law Copyright

Infringement” is pre-empted by federal statutory law and/or otherwise barred for failure to

register for copyright protection.

         359.     Tarvisium and the Pieropans reserve the right to assert additional affirmative

defenses in the future.

         WHEREFORE, Tarvisium and the Pieropans respectfully request that the Court deny

Defendants’ Counterclaims and Third-Party Claims and enter such other and further relief as the

Court deems just and proper.


Dated: September 16, 2019                             POLSINELLI PC

                                                      By:     /s/ Todd H. Bartels
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing was electronically
filed on the 16th day of September 2019 with the United States District Court for the Western
District of Missouri using the CM/ECF system which will send notification of such filing to all
parties requesting electronic notice.


                                             /s/ Todd H. Bartels
                                             Attorney for Plaintiffs




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